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Fill in this information to identify the case:

Debtor 1        Stephanie S Brightful

Debtor 2

(Spouse, if filing)

United States Bankruptcy Court for the: District of Maryland___
                                                               (State)
Case number 17-11462

Form 4100R
Response to Notice of Final Cure Payment                                                                                                          10/15
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee's notice of final cure payment.

 Part 1:         Mortgage Information
Name of creditor:        U.S. Bank Trust National Association as trustee for Tiki Series V Trust                           Court claim no. (if known):

                                                                                                                           11-1



Last 4 digits of any number you use to identify the debtor's account: 3017

Property Address: 5122 Stoney Meadows Dr
                         Number              Street

                         District Heights, MD 20747
                         City                          State             Zip Code




 Part 2:         Prepetition Default Payments
Check one:
       Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default on
       the creditor’s claim.
       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
       on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date
                                                                                                                                       $
       of this response is:


 Part 3:         Postpetition Mortgage Payment
Check one:
       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
       the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

       The next postpetition payment from the debtor(s) is due on:
                                                                                    MM/ DD /YYYY
       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5) of
       the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

       Creditor asserts that the total amount remaining unpaid as of the date of this response is:
       a.     Total postpetition ongoing payments due: 9/1/21-5/1/22 9@1,164.61                                            (a)   $ 10,481.49____
       b.     Total fees, charges, expenses, escrow, and cost outstanding:                                               + (b)   $ _250.00_____
       c.     Total. Add lines a and b.                                                                                    (c)   $ _10,731.49__
       Creditor asserts that the debtor(s) are contractually
       obligated for the postpetition payment(s) that first became
       due on:                                                     _09_/_01_/_2021___
                                                                             MM/ DD /YYYY




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Debtor 1            Stephanie S Brightful                                                  Case Number (if known)       17-11462
                    First Name           Middle Name                        Last Name




 Part 4:     Itemized Payment History
If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
the creditor must attach an itemized payment history disclosing the following amounts from the date of the
bankruptcy filing through the date of this response:

all payments received; 
 all fees, costs, escrow, and expenses assessed to the mortgage; and 
 all amounts the creditor contends remain unpaid.


 Part 5:     Sign Here
The person completing this response must sign it. The response must be filed as a supplement to the creditor's
proof of claim.
Check the appropriate box:

     I am the creditor.
     I am the creditor's authorized agent.

I declare under penalty of perjury that the information provided in this response is true and correct
to the best of my knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.


                      /s/ Diana Theologou                                                                Date 05/17/2022
                      Signature

Print:                Diana Theologou,                                Bar No. MDBN 14284                Title     Bankruptcy Attorney
                      First name      Middle Name      Last name

Company               MCMICHAEL TAYLOR GRAY, LLC

If different from the notice address listed on the proof of claim to which this response applies:

Address               3550 Engineering Drive, Suite 260
                      Number              Street

                      Peachtree Corners, GA 30092
                      City                State        Zip Code

Contact phone         404-474-7149                                 Email:    dtheologou@mtglaw.com




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                                       CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing in the above captioned case was this

day served upon the below named persons by either United States Mail or Electronic Mail at the addresses

shown below:

Via U.S. Mail
Stephanie S Brightful
5122 Stoney Meadow Drive
District Heights, MD 20747


Via CM/ECF electronic service:
Edward V Hanlon
5510 Cherrywood Ln Ste. G
Greenbelt, MD 20770

Timothy P. Branigan
9891 Broken Land Parkway #301
Columbia, MD 21046

Dated: May 17, 2022

                                                      Respectfully submitted,

                                                      By: /s/ Diana Theologou
                                                      Diana Theologou, Esq.
                                                      MDBN 14284

                                                      MCMICHAEL TAYLOR GRAY, LLC
                                                      Attorney for Creditor
                                                      3550 Engineering Drive, Suite 260
                                                      Peachtree Corners, GA 30092
                                                      Telephone: 404-474-7149
                                                      Facsimile: 404-745-8121
                                                      E-mail: dtheologou@mtglaw.com
                                                      MTG File No.: 22-001576-01




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                                                                                                                                                      PAYMENT CHANGES
                                                                                                                        DATE            P&I                 Escrow            TOTAL               Reference
                                                               PPFN filed 8/8/2019 IAO $250                           03/01/17         539.60               374.90            914.50        Payment listed in POC
                                                                                                                      04/01/18         539.60               347.22            974.11       NOPC filed with the court
                                                                                                                      04/01/19         539.60               385.02           1,104.05      NOPC filed with the court
                                                                                                                      09/01/19         539.60               354.65           1,073.65      NOPC filed with the court
                                                                                                                      08/01/20         539.60               397.83           1,116.86      NOPC filed with the court
Loan#                                                                                                                 08/01/21         539.60               445.58           1,164.61      NOPC filed with the court
Borrower:                            Belt                                                                                                                    0.00
Date Filed:                        2/2/2017                                                                                                                  0.00
BK Case #                          17-11462                                                                                                                  0.00

First Post Petition Due Date:      3/1/2017                                                                                                                  0.00
POC covers:                        2/1/2017
MOD EFFECTIVE DATE:                   n/a
               Date              Amount Recvd   Payment Type      Post Petition Due Date      Contractual Due Date   Amount Due     Over/Shortage       Suspense Credit   Suspense Debit         Susp Balance           APO DATE PAID
Beginning Suspense Balance                                                                                                                    $0.00                                                             $0.00
                                                                                                                                              $0.00                                                             $0.00
                           DUE                      post                  9/1/21                                        $1,164.61        -$1,164.61                                                             $0.00
                           DUE                      post                 10/1/21                                        $1,164.61        -$1,164.61                                                             $0.00
                           DUE                      post                 11/1/21                                        $1,164.61        -$1,164.61                                                             $0.00
                           DUE                      post                 12/1/21                                        $1,164.61        -$1,164.61                                                             $0.00
                           DUE                      post                  1/1/22                                        $1,164.61        -$1,164.61                                                             $0.00
                           DUE                      post                  2/1/22                                        $1,164.61        -$1,164.61                                                             $0.00
                           DUE                      post                  3/1/22                                        $1,164.61        -$1,164.61                                                             $0.00
                           DUE                      post                  4/1/22                                        $1,164.61        -$1,164.61                                                             $0.00
                           DUE                      post                  5/1/22                                        $1,164.61        -$1,164.61                                                             $0.00
